Case 2:18-cV-00115-G.]Q-TPG ECF No. 1 filed 07/17/18 Page|D.l Page 1 of 29
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-l+ic KCF Con+ro\ £cnlcr. where plain+i FF was +old,"/l class law

disciplinary charging of "Disobcying a clirec+ order"was l
wro¥& i 57 J&Fwdan# Ruiz»@}c¢lo\ . gsr }ln k1‘2)11¢@Fl3,'l;/7p,,, l/-Z¢Hz‘,

175) l’lainliFF s+ale¢l la KcF Serqcanl 72/1¢ ycl¢,"n&c¢,,@la_ni am
" C;cala 'i$ rc+a\‘.a+ing agains+ mc . Dul ap revc’ny£. F$/m&
exercising my l»".rs+ Hmcmlmenl 'l?»'.alil. 75 whim/imp +hc
Govcmmcnl' car Rcalrcss of C:rie.vance£. willi #iaf alisciP/m¢.

C\aarge». becaus€ `Iam in fhc Pr‘occs$ of a camp/amf grievance
upon depends-wl Ru‘¢'L"o/'dm»

lZ‘-l) fn +l\al' momenl' oF ‘l'Z§'l§i Flainl'if/ also ink/neal ll»c lf€F

Sarg ean+ Te,aeyck,"oii i/'»zv-/§. I was ml iii +£¢kcf chao //,Jl
at \3:#7 pm . I mci a+ isi.?,l/,om. ,4 F¢,// M;M:¢/i m/rw!c,wuc
\35‘*7|”":'5¢)*9“»1' Tcneyclf never rap/ial "Back‘°.- oliver 'llian.YN
m l~i¢l~'-n / wiill»u+ pari m aiiiic¢m i~\.ii.i ii aimqu

l 15) bn 4'28 '15. ?la'.alill" filed his C»mpiainl Grievam,c , For
Malicious Prosccu‘lion /Crea+iiiq falsified document llqaiasi‘
chcnda/i'l Ruiz~O'ie¢la. 509“5! 'DisciPlinary charge af \,¢;»9
"0uf all ?lao&"- Ul'il*liou’r Pl'obable Cau$`e. llail pla'inl"il$ lail~‘in

From my work assignment which caust m 1b nochf overlime pay,
l Sc¢ EXNT-BIT"`H" icamplain+ &ricvance KcFi$osobZS'oazs£)i

~J-_-*

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lZl)) 0n ‘l'Z‘l'l§. Flainlill submil'leel llie complainl Gr.'evancc
Fof R€,+A\‘»o.'l'o" Hams$m¢nf, 3y J¢Femlm+ Rui’Z'~0/‘¢ol4 adl’on§
oF Filin§ a re+aliabry iliis¢:i¢lli'nainl charge of “bisoheyiny a direct
order”. Mean+ +» Je+er Plainlill eFFor+s of exercising ike Fi/:# lineal-

mcn§ %‘iglvl'. To ?¢¥Mon ‘\'\'£ Govemmcni' For neel/css of Grievdnces iame
revenge , Beeause plainlil»'l' was +aking grievalile adm againsi' lmm

( 7.7) In suppoi+ oF ?\ain+illl» lellina,‘i` belcoalanlll’u;z-@jccla

ll dvml'laln+ 9ricvance was being Filc¢l , /£»r /)i'sac+/ons
on neza' isf‘ (ExHIBIT’Z;" KcF/sos»sasoo nb ),

¢7~3) Tl\e same clay el 1/‘29»)'5.. F/ainlilf was given an
class Taio miscanduci' \-learin9 .. For »l¢ npril 23, 20/5,"001'
il Piaee”iliseipiiiwy charge . where neii+-.iiwae'eid
"No+ Gw,ll'y". 67 kcF class 7[uo l/ear/ng o//,'ce/‘ Lieuil¢oa/if llla\\'i.

ieincezr'y,~i+ eci-nyv eniiii,s,ii "e.iii//ii.a"aii.rie).

(7-“ boring +'ha+ momcnf of ll '29'/5. lloon C/ass T'v\/c _
isconalvc’r fleming was hela|~ \"or ‘+l\e Rpri| lei 217/se
el=scil'llne charge of "bisobeying a airee+ mer’.' wheie riaimiff,
was Founi|"qu‘ilfy',’ 61 ch class Two Hearing officer L+. M-al<i,
and received Fivc days. boss all Frivileges (i.o.P) F" 7(ExHIBI7'1'"

The family finding . 0n ”Disolieylng a died order”cl\aqe).

 

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F°”* ”*l¢ 7 l "Loss of Pri‘vilqe '{$ $ancl'ion impose on afresone/,/;ua/
9“'¢\*7.0:\ a Forma| ¢h“rqe,

__,l.?»._,

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l 30) fn con-lemp% of lCF L:eu'l'emwl Mak; never allow/ng P/am#ff
video evlelenr.e , Wlm.h could have shown.F/am HFF was/vi f/M'¢:F
chow Ha|l . Hl' B$Wmn. on *`l'l'l'l$, 95 well as Piasn+‘.Ff verbally
asking Hearzng aimer Li. Mak:, far w:#ness Fmaner M:chae/ E,

Barnef #B‘IH%. Who could marshal . AHM heaan vi "D:so'be/m’
0 J'»»‘Bl}@f&" le Pla‘mh# was no+ €n +l»\e KcFH,aJ£how Hall, HIJ»'W/vn.

fla».n+lff' was Faunel guilh'. ( E!l/I&IT 21 "HFF,'JM!)‘ of Mec/¢ae/ 6am0‘8‘l/H£),

( 51)0,1 4-30 ~/;5, Pla;n+;FP rece;ved by KLF Ma‘.l. ll "ga'ld`en rad”coP/'
,F a fabr:ea+ea ess-363 mrseN£R Pnoeem m wm uslw
MENr EvALuHTIeN FoRM , $u lamst by /eé»/)a’~ef/Yu;z»p;¢]“,

Who was §ee,k;ng F/asm‘?/F farm/aa hon /re/)) /(£FFan Serv.'ce.
(ExHLaI.T K cstr- 353 mw emma we hamm 6¢/»).

t 52) bn S~ 5-\5» Pla-.nl'.FF fach ~lhe ¢‘,em)’/a:ml gr:evanee of Rehl:al':on
llaras$menl'/ £reafmy a Fa/se Jocumenf, Ey ole/eade Ru.'.l ’
ojeela ac+'.ons oF subm‘.l"tng a False £SJ‘~Z£S FKI.S&NEK WMW
and WORK AS$I&N MENT EW)LU# TIM F@RM» l/,o¢vl gelin/fm Du¢
+o P|am+‘.l`»¢, fxeressmg +he ‘Fm+ nmemlme)r qul#.‘f@ fdisz !/»e

Gavem mcn-\' Fer Redress oF Gr.'evance. leen cme/er Bb,o§,ol.loolzew’.“?h¢

dellle Ku'.z~ 0}£Ja caulel no+ whme //mf£$)"$ézas a £valua}or»
lExHIBIV “l>", w mesa 55 100st er)evanee ).

 

Fw+ we 3 , ho. es.u, /eo (»w> sawm(ee) wivdl M’es: when dme/damn

Emn a work or schad assignmen+ is niece SSary, mca/nmem/a#an shall

be suhme++ed by ihe ass:qomen+ super v;;vf 1156/if a lwe/w flequ
and Work Hss.'gnmenf EVaIuaf,~'o/h($ee EY//I£IT"."»IM‘/)FA”»W'
mo Frogram Pf'.sonee ClAslesea+zm ¥Gb,os.ol.lw@m W pensacola

w')see EXHLBLTm'j duval ¢W)/zo.@;, a,wseeem(~emas wea.

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l33') On 5‘7"!5' be¢enelanf‘ hesteman hal Pla:n+iFF come 40

+he l<LF Hnnex Buildinq c,n+ml Cw+er.#Hil/;€am. BY'way
of an KcF I+inerary callau+.

H"l) buran §"hai' mpmmf' 0/7 5‘7’/5¢ Dc Fencfan‘*' B£$+&MM fela

P‘MnfiFF , in a £5]'“|75 ?ROGRBM £LH$§IFIMTI&N REPM'T&F
Aa+¢ 5 '7'/5 . ?|ain-+%FF wa$' being SN.SP£/?dea' `Fron‘l KLF HRHM
Food Service anell placed an unemp/ayab/e S+a+us Daub/e "w"m

4

on behalf aF nail-ojeda . Sabmi+red csx-363 .,/= 1/»30'/5, lies
ExHLacT "N" mem cmssI.F.rc/i flow seem aFS'y'/y»

(35) Fla$n+iFF ask JcFeMan-'/’ Bc$i‘emdn 173 b¢F/Md an `H’@
UMMP|W&H& $*a+bl$ oF Doub/e w. Wou// fnal’ limit hhs
+e.rm mailed , "Ehere was no replied /espen$e.

isn minnie s+a+ea +@ Ae¢w,lm+ aes+eman, -a..'.z»o;aa

could mi subm)f #,af cs:i'¢aez . Beeause Raiz»oj a

H\e Evalaa+or, No+ a, Rs§ 590/nmi Super visor. 45 /’.b, 05.0/. l00

(£E)£GG)(zoi¢n . Which sfa%esz Hssig'nmenf Super v,';ar far
evalua\-e¢l -Prisonefs ,' When lefmma#o/) ;; ncce.i$ar)j, +hg
recommenda+ion Shall be $ubmi#d by #ie l¢ss:gnmea|' Surcr»
visor. To +he Program Bla.ssiF;ca+ian ‘uirec+or.

`:n-_ 4 'd'\* `

F¢a+ me ? , uaw/lamm “baub/e oa"_$fahu an resi¢;c¥;on
From leisure +ime aciwi\»ies.

fbi

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[37) T-n +l\al' same milnem‘ »F 5~7’/5. F/ain‘h"/f in hard
idendan+ Be$h:man . (To ~|~l\e ¢ac.+, By being KLF Prv,ram
L|a 553 tca 'H 011 D‘. wan . You know n S/Iou/kaw »Ma} Ru$z
’0/£Ja could N+ Sulim’rl +lia‘l' 635'363, I+S warth

Know +M£ 'mFor/na+¢on»

nn F\ain'l'.FF aisd informal JeFenJanl" Beswman,"#fno

+'»m,e';eliel defendan+ Rui'z.-'D/eda, F¢v;ew +he GSJ" 353
wi+l\ rla'»MFF, Neve/ was +lve LSJ"%! Reviewd By' an
assign mewl- $Werv,'ser wi+h Plain+tfh 657 1585/van hall
a signa+ure Fram Plain+i# annme»f seamen lgee
ExHLe:LT"K'),

lan 'me csir~ aba was med aun/re!a/ia¢;ea, mei

canned-im w a rela|ia+ary disciplinary change, far
PlaiM'iFF exercising -l»ke Fir$+ Rmemlmenikiqi»‘,&#/m
+he Cnvem men+ Far keel/ess of ér;eva/ic,cs , Beca use a+ no
ime waz plain’¢i#. I`n +lie »KLF thaw //a//,,#/$¢//Im,
4a \l~'Z¢I'/`§i Nar was Je¢emlam‘ Kuiz-d/eda file +he C$S-}b$,

l 401 ea +ha+ same lam 5-7-/5. ns a ';»/»y//, beemlaa+
Bcsleman , /f'greed wi+h plainhff c/aims cf amf being
in +he me cum iiaii a+ czma/n and was e/ae/red
ou+ a+ iaizii pm. on 4-21/-/;, 73 gee plain#;/»'/ ~bM

Filing com plain+ grievance . 0)) defendanf lu.iz»(.ljela.
brievanc£ Nvmber KLF`/§O§o 53500 /15¢

4¢,_`@_-

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{ ‘f|) beFendan\' Be$\'¢m-Ml Showed Plam'HFF. His"Code+U"§creen
whieh had a me mrch woRxER INMHTE §IGN -INaad $IGN
"Uui’ .¢ D$g'i+al Time $hee'\' .T\riai’ Showd Pla',n+$FFfS dePW/¢

of izsz‘l Pm . on 4'2*!'/5'

pin Piain+ii¢ ms +i\oi eh»wdl"i»'ile mile/1 mo m +he vw
con of +he Kef Kr'rcHeN won/rex INMHre' 516~~1~ and
S'»en.-ouf, Time SM-ee¥, Wh.-'ch also depaer Hme wasaf
\5.' 34 pmi Dn ‘I‘-Z‘I'I_E.

I‘B) Fol¢owlng +kose events of 5'7'/5, F/a;oh# ask defend an+

Besi*eman . Far cows of +hose Time shee+, Hnd was +old br

defendanl' Bes+eman, " `IF you sign o/f. 0/1 /rcf/o'o§o§z£oonb.
and sup nlng Grievances'f Flainl'if¢ +old him "rlo I will
no+ sign oI-'F,'

(‘l*l) DeFendan+ Bes+eman sided w;l/» ole/enda/))")l’u,'z-D/eda,
145 deiendanl' Bes+eman said +ha+ he agree wi#$ eleFena/am*

Ruiz»'o;'eda ."You should no+ work in Me /ch Fooe/ $av,‘ce,
'Hn ymm!”/ No¢u w,'// be p/acd on Unemp/oyable $fa¥uo' and

Su$l°ended Fram your job ass.'qnm}, S/nce you like /;/Mg'
com plain+ grievances, uaw /eave my o///ee. ?loe.nHFP d'id,

(“l$l La’rer +haf dayoP 5'7-/5. By rmii/l Flainh// receiveo'. 0
P'mk con l°aqe oP line CS'J'~W§ PRoG£/W eM$z‘/Icnfrml
Re?or‘f. S+o\hng I was Su`$Pe/lded From kcF FMSemce

job assign men+. (See EXHLBIT'N)(ll/so See Ploi‘¢n\-iFF
AFFidavi+ ap $ean adam R@g ers elmore ar- s»i-is evade

(EleB rr"o"), b

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/“‘5) on s»s-is, oeiendaa+ seem siarid rini/mei R~n»
Res+ricfion . Unem ploy/able "baable oo"$i‘afu.s and +he +ermina+i,n
, N»f suspension from !he kcF men MHA’/r road Serviee job delaiiel
assignment J'us+ as de¢endani' l?uiz- ojeda Sl'afed,"F/ainfiff
would be Su\ojec+ed +o on "l'i‘/'/§.Mz?iis is due +o defendan+$
BESfemom and Ru'iz' 0)'eda over+ Flan,B +ake P\ain+‘»fF job.

- {‘i 1) on 5»//»/5 . P/ainiif/ submi#ed,"cL/lssrwo and cmss"mn££

-Ml$eoNDucT BFFEHL . anin$+ +/ve charge of "biso hew/19 A
difee-\'o(de\‘"fro/fl '/‘24‘/5, Desfi+e, l’|ainf"¢FF being denied
“ video evidences", Which would have showed +ha+ plain+iFF m

nor in +he Kc.f chow weil . iii /3:‘/`7/»)» ,o” //-ze-/s, flom/lwe
Plainf‘iff' wifne$§ Michae\ E. earner # 8414% and #\a+ ‘F.me sheet

( ‘f$) The $Ame day of S'II-IS, Plain+iff’ Fi/ed +he (M?Pla 'm‘l’
grievance Far Re+alia+ory Harassmem‘/civi/ c“onspiraey/sfaff

corrup+ion) , By defendan+ Bes+eman and co conspiracbr
Ruiz~ hide , Ac+ions +o have %l'\e Plaml'$# job +erminaied and
Subjec:l' P\a‘m+i¢F +o UnemployaNe Qfa+us' Room kes+`ridion$,for
exercising die Firs+ilmendmeni R:yiif. Ta feti¥ion +he amfan 6/
Redress of Grievances, ls¢e Ex/Izozf"e"",' Grievanee nmsosossmzso?,

4‘_`

er Naie io»; Ddendan+ Ruiz-bieda sidde 90¢ mike/19 For row Si/xe)oo
like wrihng grievaneeS.You won‘f be working food S¢rviceno more':

/7

 

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(6'?) The ac+ions of defendan+ Rull'l£)jeda 'ln Paraqral’hs i0,

llllzi H, l5 . InFlueneeo\ alee$$?on oF ming a Fol\.$e disciplinary
charge o'F "0o+ of Plaee", So clefendamL duiz-Ucda could have
punished wifh Sonc‘\'lor\$, U{Mn Plamf$FF.lConS+i+d'l'¢J Ma\ie'iou$
l’roseou+ion, Wifhou% Pno'bab|e eau$e . ‘To sub]eef Plainh'//lo
Proseeurion of a“Forma\ Hearing'; thll defended Ruiz»djda
knew +l\ai her mullins ioool service sope~eor“rlon+”. mo
defendan’f RuiZ'O/'eda," Roqer$ had my` permission 717 slay af
Formal £ounl"\'ime". 0n V'ZB‘IS. Q+pa¢lqu’aph lZ,” DeF¢nJM'|'
Roiz'O;eda"s+ill secked con sequences oF +haf Par+icil’a’red
decision. ll\lhieh seizuch several work days will/roof my
‘From l’la‘.nl'iFF. .Because of a susPendiou From P|ain+iFF
KLF ¢\‘h>H job ols$,'gnmenh Pending fhc loui'come oF +\le Formal
misconducl' Hear'lng , Even illoth o )#pamymph 28 . The "ou't
o¢ ?\ac.e" misconduel' ewrge was dis'missed'e"/£¥\nere bl¢,
welding my rigkf,+o loe Seoul`e in l-lne‘.l" Pef$on, against
unreasonable Search and SelzurelS , Shall n01l be
violaled and no warro.n+ shall isslue,bu+ upon probable
cause". In v:rlolloos of +he F.,l.r+l. amenameo+,l: +he

Uaiied $+a+es Con sh+u flon.

 

Fao+ nof'e ll , Elh‘rb$‘l'"'"",£\ass Two M‘ls(ondud' of 0010€ F\ace,
Si'a+emeffl’o|: KCF Food Serv;ee jupervis’vr ?lonl’ and ike Cla$$
Two Mlseondoe+"Fi¢\d',nqs", S'how reason for "No+ Guih‘y dismissal'.'.

___.'L-’

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l50l Tll% acl'mn$ of defendan\' Rulz-Oje¢lu '»n Puragra?hs l3, lS.
In crw+;n‘z n Fal$lh'col documcnl. S+olef» and shows defendanl

Rusz- Ojeola . ?os§e$$eo| a Sulllc'.en+|~/ Culooble Slule of man,
Wl)lcl\ has caused Plol‘.nl"¢FF cleprivul'lon al llle neces§lll£-$.To

nol be able +o fmhava H)'g‘.emc mu+cf;uls anol over +l)e counl¢r
medicallon$ . For lawn human needs and Fulures rlsk oF boom

human needs o\ml AcPrlvo.l'.-ons of exarc‘.sc. Conol:luleA dollbe,ru+c

Inolz(llorence, belmvlor. Whe,n llne,rr, was no leq'.l‘.mo:lo correcliona|
YufPoSe. bue+o ll\e Fa:l. belemlunl' Ru'.Z»O;ecla karl knowledge

, of plo.r.l'.u no+ bona “ou+ oF Ploo'.'”"’.z 'Nev¢r+l\e lois delo/um

flu'.z-Djeolo SHll creo+ed cruel l'.v;nq cana':ho/).s of see/r;og
+o remove Dlmnhff Fro/n fha kcF H)?/}M/M’K K.'h,-ln¢n (;n¢ worlw
lab ass;gnm¢nl, wIHr om‘ Pay. `In -lhe endeavor fo sub/ed mel
`l'o cruel anol unusual ?un'.sl¢mcnl. fn vio/af/om oH/oo E,'glllll

Hmenolmenf of //)e l/nl/€al flaw Conslh‘u)‘/o/l.

 

Foot uo+e 11 . ill mm qraoh \Z of ’rln$ complaint flow KCF Foo¢l
“nRh\val<"sorv:¢e supervssor “plon+". ven ,,|¢¢:¢n,,l,,n+ au;z-p/e,la
"Rogw hud Permlsslon.'l'o s+ay llm)uqh counl'l”,mg, @,7 7»13-/51 ana
on Exurerr‘“HZ m mman 'Plom‘ moolo o s+o+omeo+. sham

defendanl Ru".z' D)oola , Knew +ha+ "flogors hou-l permiss,'oo. 73 shy
llwoogh counl lime from /rcF Foozl Superv-;sor F/onf, 00 l/»23’/5.

l‘l

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l§/l Thc athens of' del:enalanf Ru‘¢t~ Oje¢la in pavagmphl‘l,
7-o, iii 26, 27 in $uloje.cfed acfion$ of Adv¢r$e llr,fionsoacing
Nol' le’rl"mg plainl?FF fGlurn to his KCF Chow llall Dl/me/' $hiff, on
‘i- in lSaml a "Boqus Misconolod' charge of “l>isvb€r""y n alich
D'A¢"T\‘ T\"'5 being hoursl aF+er \’la\nl".lf. Tolol JBl:zn¢lan*l RuiZ'
0}.¢:ola,`l fl complain+ grievance was on +he war againsl Raiz'
ojeda ac+ions al 1/'23»/5/1 145 wo//a; diredly arm pcpenjan+
Ru‘¢l’oje¢la +ol¢l Plainflff“l' qol some#rmg For you/plainf;/f Rogai)
Since you like wr flag grievance, l'ou wan'fbe worl,ny /rCF
food Service no more.On "r"Z‘/'IF. Tlnen al paragraph 29. 4
Eailly finding was mao\e on +he Mi$wmlua+ oharge,"[>:sol»er"»o

a hired orderf"€lluah slalal Plainli” was in fha kcF chow//o//
al 153 "l`lpm anal rel?usul +o leave" ivan fnouq/;. /)%im¢/A¢' /¢//
like K¢F chow hall before l5$*17pn1 , min l/‘Z‘)"/§', n/evcr' 1‘0 rch/r/l
unliil, My dinner Slv.l+. ?lain+iFF was nof allowo¢/ fo work, for
Plain+iFF exercising lou Firs+ Hmondmmf A’.'g/,f ~/o /’efh€'o/) lbo
Governmenl' For lleolr£ss ol»' Brievarices. V!olar/ng #re /irvhb)ml-
m€l’d' UF'll“iB Unll'€al Sl'dl'ES Consl'llul'lon, For Rel¢\lial'w llan\so‘
menl.

 

:g"

Fool' No‘\'¢ l3 ,. /H{Im l{ZUjl$ l‘l$i paragraphs 22, 23, 2'/» ‘l'he Mlscmdul'

charge of Disobeyinga dir¢c+ brdet. Gavo fo P|ainliFl-` *I~Z$‘l§,
Foir q°' Zl`*",§l

rm noia iu , Exurims 11 ‘N” snow and shoes miami luf+

ll'l' l3l ZW pm. ll Ful| Tlnirl'ccn minuhs aparl’ From 1354/huntme
video evidences, 19

 

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case 2:13-Cv-00115-eoQ-TPG ECF i\io. 1 filed 07/17/13 Pageic).zl Page 21 ar 29

I")’Zl ‘l’\\e. ac‘l"»on$ oF delenlan‘r RulZ'O/'e¢la;m paragraphs Zl,zz
°¢n Slll’§£¢'.'fing +he Pla'.nlllf +o /l¢/ve/F€ £mp/oymom‘ /Ic+;on.s oF.
Relaliafion Harassmenl, lillian delenolanl' Ruiz-O)eola crea’reol an
rm>or. csn'~'zbo rumoan renoan nno woRK HS$I@NMENT v
EVRLUHTIDN . la Ll“§o'l£». will ll)c in+w+ional rurposc no easan

rev'cnqo,l\£ing Plainhfl's removal l’-rom his KCF HRFM/lllll Foool.
S¢rvice job assignmen+, For yiaia+irr exercising his Firsl lima»ol»

M€nl Rl$l\l'. To ?elilion +he Govorrlmenl For R¢olrw of Gnevmces,
uaoler rko uni+eol $lalcs Consfi+ulion. #roomplain+qrievance.§#

KCF l505 0615 00 180 and KCF l505053500|7B againslr ¢l¢l"en¢lanl'

R“ll'oleola . Nol’ mall'/ rlay5, Wforz'l'he CSJ'-%Z.Ufon plainHFF,.
ivan ihough,l 1a exulsl'i'"|,"nf;moc rio.os¢o/.Iwre£)(oo)(of
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could nol Submlf_. Tl\c KCF FwJ$c,rvlce C-SJ" 363, Upon Plnlnl'iff,
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